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                                    IN THE
                     UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT
                     ______________________________________

                                  No. 23-2366

                                  K.C., et al.,

                              Plaintiffs/Appellees,

                                         v.

          INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING
                      BOARD OF INDIANA, et al.

                             Defendants/Appellants

                 _________________________________________

            On Appeal from the United States District Court for the
              Southern District of Indiana, Indianapolis Division
                        No. 1:23-cv-00595-JPH-KMB,
                   The Honorable James P. Hanlon, Judge


  Appellees’ Reply In Support of Motion for Panel Reconsidaration and
Reconsideration En Banc As To Sua Sponte Stay of Preliminary Injunction
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                                 INTRODUCTION

        In the week since the Panel’s February 27, 2024 Order, transgender

adolescents, their parents, and their medical providers have been living a nightmare.

Beginning the morning after the stay order, doctors like Plaintiff-Appellee Dr. Bast

had to start the process of calling patients to inform them of the news, cancel

appointments for the coming week, and effectively cut people off from treatment that

had been improving their symptoms of gender dysphoria. See Bast Decl. ¶3, attached

as Exhibit A. As Dr. Bast explained, these were some of the “most difficult

conversations” she has ever had in her life. Id. at ¶4. Not only must she withhold

medical treatment she knows is helping her patients, but also she cannot even tell

parents where to go to continue to receive treatment lawfully for their children.

        The Panel’s March 1, 2024 Order effectively denied Plaintiffs-Appellees’

request for panel reconsideration on the issuance of the stay. Appellees renew their

request for en banc reconsideration of the stay here and emphasize, again, that, at a

minimum, a delayed implementation of the stay is warranted.

   I.      The Panel’s Sua Sponte Stay Order Should Be Rescinded.

        After Appellees filed their February 28, 2024 Emergency Petition for Panel

Rehearing and Rehearing En Banc, the Court issued a March 1, 2024 Order

requesting briefing on whether a “grace period” from the sua sponte stay is

warranted. Doc. No. 127. By issuing that briefing order on the narrow question of a

“grace period”, the Court effectively denied Appellees’ request to vacate the stay. See

Doc. No. 127, Dissent of Judge Jackson-Akiwumi (dissenting from the Order insofar


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as it does not request briefing on whether a stay should issue). A vote from the en

banc court is warranted upon a denial of reconsideration by the panel. See, e.g.,

Flower Cab Co. v. Petitte, 685 F.2d 192, 195 (7th Cir. 1982) (noting circuit rules for

rehearing). No such reference to en banc consideration was made in the Court’s

briefing order. Contra id. (noting specifically that “no member of the court in regular

active service has voted to hear the matter en banc.”).

         In their Brief in Opposition, Appellants largely re-litigate the merits of the case

and argue in favor of a stay for the first time here. For the reasons outlined in

Appellees’ February 28, 2024 Petition and Motion and the merits briefing in this

matter, the Panel was wrong to grant a stay, particularly without a call for briefing

from the parties, and Appellees renew their request for en banc consideration to

vacate the stay here. 1

   II.      Any Stay That Issues Must Be Subject to A Grace Period.

         Among the many harms that flow from the Court’s decision to sua sponte stay

the district court’s injunction is the lack of notice provided to patients and families.


1 Appellants’ citations to other cases where stays were entered are inapposite. As discussed

in Appellees’ Petition/Motion, in Eknes-Tucker v. Governor of Alabama, 80 F.4th 1205 (11th
Cir. 2023), the Court had already issued an opinion on the merits, a petition for rehearing
was pending, and the Appellants moved for a stay. In Frank v. Walker, 766 F.3d 755, 755-56
(7th Cir. 2014), Wisconsin had asked for stay and the motion was granted after the case was
briefed and orally argued. In Stone v Signode, 777 F. App’x 170 (7th Cir. 2019), the Court
vacated a stay rather than issued one, in an unpublished opinion with reference to the district
court’s underlying reasons. In Nat’l Resources Defense Council, Inc. v. Winter, 518 F.3d 704
(9th Cir. 2008), the Ninth Circuit concurrent with the stay issued an opinion on the merits
and explaining the stay. In In re Starnet, Inc., 355 F.3d 634 (7th Cir. 2004), the Court issued
a stay upon party motion and with an opinion. In Deering Milliken, Inc. v. F.T.C., 647 F.2d
1124 (D.C. Cir. 1978), the D.C. Circuit stayed injunctions pending resolution of the cert
petition, after issuing an opinion on the merits and explaining its reasons.



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At lunchtime on February 27, 2024, transgender adolescents in Indiana had access

to their doctor-prescribed gender-affirming medical treatment for gender dysphoria.

By bedtime that same day, that care became illegal in Indiana. Though the legislature

anticipated a grace period for families to make plans in the event care was outlawed,

see Ind. Code § 25-1-22-13(d), this Court’s sua sponte order allowed for no such

planning. When the Court of Appeals for the Sixth Circuit stayed Tennessee’s

injunction, allowing that state’s law to go into effect, Chief Judge Sutton noted, “[a]s

for harm to others, the Act’s continuing care exception permits the challengers to

continue their existing treatments until March 31, 2024. That feature of the law

lessens the harm to those minors who wish to continue receiving treatment.” L. W. v.

Skrmetti, 73 F.4th 408, 421 (6th Cir. 2023) (staying district court injunction with

eight months remaining in the statutory grace period).

      For the first time, Appellants now suggest a stay is proper and oppose even the

entry of the type of grace period the legislature mandated when enacting SEA 480.

Appellants’ novel and constrained reading of the law should not be credited. Now they

argue that treatment can continue so long as it is “titrated down” because such

interventions would no longer be for the purposes of “gender transition”. See Op. Br.

at 15-16. But such a reading cannot be reconciled with the plain text of the statute.

“Gender transition hormone therapy” is defined as the provision of enumerated

hormones “in an amount greater than would normally be produced endogenously in

a healthy individual of that individual's age and sex.” Ind. Code Ann. § 25-1-22-4. The

prohibited treatment is based on the amount given, not exclusively based on the


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purpose for which it is prescribed, and the State’s new reading of the law is

inconsistent with this plain text. If the “grace period” in the law’s text was solely for

the purpose of “avoid[ing] any doubts”, Opp. Br. at 15, about the ability of physicians

to “titrate down” treatment, then it would be superfluous. Moreover, the State’s

atextual interpretation hardly binds future members of the Indiana Medical

Licensing Board, nor does it bind Indiana courts resolving claims brought under

S.E.A. 480’s private-enforcement provision, Ind. Code § 25-1-22-16. In other words,

no provider in Indiana can rely on the State’s novel interpretation.

      Furthermore, titrating patients off of treatment is an option of last resort, as

most patients who have already started care will do whatever it takes to continue

care out of state. See Dist. Ct. Doc. No. 26-4 (Declaration of Nathaniel and Beth

Clawson, whose 11 year-old transgender daughter received a puberty blocker a year

ago) at ¶18 (“If she is condemned to having to suffer through male puberty and is

denied the ability to be the girl that she truly is, it will be catastrophic.”); Dist. Ct.

Doc. No. 26-5 (Declaration of Lisa and Ryan Welch, whose 17 year-old transgender

son started testosterone about two years ago) at ¶16 (“Before receiving testosterone,

we watched our son struggle with gender dysphoria and its negative effects. It is clear

that the receipt of testosterone has caused him to be much happier and is allowing

him to live as he is, an adolescent boy. Without the testosterone he will revert to

experiencing the profound negative effects of gender dysphoria.”); Dist. Ct. Doc. No.

26-6 (Declaration of Emily Morris, whose almost 12 year-old transgender daughter

has been on puberty blockers since 2021) at ¶17 (“I am afraid to think about what


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might happen if the puberty blocker were stopped…I believe that this would also

cause her to have irreversible depression and might cause her to think again about

mutilating herself…”); Dist. Ct. Doc. No. 26-7 (Declaration of Maria Rivera, whose 16

year-old transgender son started testosterone a year ago) at ¶16 (“If he is not allowed

to continue receiving the hormone therapy, I am sure that his gender dysphoria will

come roaring back as he stops developing male characteristics and develop female

ones. This would literally threaten his life.”).

      By cutting off hundreds of transgender adolescent patients from treatment

with no warning, the Court’s order has created chaos and harm that must be

minimized. The stay has forced doctors like Dr. Bast into the impossible position of

knowingly causing harm to their patients to comply with state law. The stay has

forced parents to watch their children suffer and possibly uproot their lives without

any advance planning. And most troublingly, the stay has left hundreds of vulnerable

adolescents with no treatment and no accessible and safe means to access information

from their doctors about what treatment options remain. The State has no answer

except to say, the law permits you to slowly go off your medication. But does it? And

even so, should this group of patients be given no choice but to travel out of state to

find care elsewhere? And if they can even manage that, should they be forced to do so

with no medical guidance or information? Should their parents not be able to pick up

the phone and call their trusted doctors to ask for help? It is hard to think of a clearer

suppression of speech. It is hard to think of a more concrete harm. At a minimum, a




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grace period is warranted to give doctors, parents, and patients a chance to make a

plan.

        This Court’s sua sponte stay order is not just a remarkable divergence from

typical practice wherein a party applies for a stay in one or more courts before any

court grants one, and the “moving party must give reasonable notice of the motion to

all parties.” Fed. R. App. P. 8(a)(1)(C), (a)(2)(A), (a)(2)(C). It is also an extraordinarily

irregular decree in the severe and immediate harm it caused without warning.

Indiana provided ninety days’ notice before prohibiting care: SEA 480 was enacted

April 5, 2023, went into effect on July 1, 2023, 2 and provided a six-month grace period

through December 31, 2023. 3 This was consistent with other states’ restrictions,

which provided at least thirty days’ notice (and typically ninety days or more), a six-

month (or longer) grace period to wind down care, and/or a legacy provision allowing

existing care to continue. 4 And the majority of those laws did not contain an “aiding



2 Compare Ind. Code Ann. § 25-1-22-13 (effective July 1, 2023) with IN LEGIS 10-2023 (2023),

2023 Ind. Legis. Serv. P.L. 10-2023 (S.E.A. 480) (April 5, 2023 enactment).

3 See Ind. Code Ann. § 25-1-22-13(d).


4 Compare Ala. Code § 26-26-4 with AL LEGIS 2022-289, 2022 Alabama Laws Act 2022-289

(S.B. 184) (30 days’ notice); and Ariz. Rev. Stat. Ann. § 32-3230 with AZ LEGIS 104 (2022),
2022 Ariz. Legis. Serv. Ch. 104 (S.B. 1138) (one year’s notice); and Ark. Code Ann. § 20-9-
1502 with AR LEGIS 626 (2021), 2021 Arkansas Laws Act 626 (H.B. 1570) (over ninety days’
notice); Fla. Admin. Code Ann. r. 64B8-9.019 (legacy provision); Fla. Admin. Code Ann. r.
64B15-14.014 (same); compare Ga. Code Ann. § 43-34-15(b)(4) (legacy provision) with GA
LEGIS 4 (2023), 2023 Georgia Laws Act 4 (S.B. 140) (over ninety days’ notice); and Idaho
Code Ann. § 18-1506C with ID LEGIS 292 (2023), 2023 Idaho Laws Ch. 292 (H.B. 71) (over
eight months’ notice); and Iowa Code Ann. § 147.164 with IA LEGIS 9 (2023), 2023 Ia. Legis.
Serv. Ch. 9 (S.F. 538) (over sixty days’ notice); and Ky. Rev. Stat. Ann. § 311.372(6) (grace
period) with KY LEGIS 132 (2023), 2023 Kentucky Laws Ch. 132 (SB 150) (over ninety days’
notice); and La. Stat. Ann. § 40:1098.2(D) (yearlong grace period) with 2023 La. Sess. Law
Serv. Act 466 (H.B. 648) (over five months’ notice); and Mo. Ann. Stat. § 191.1720(4) (legacy
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and abetting” provision that would prevent doctors from safely referring their

patients to providers in states where care remained legal. Only this Court’s stay order

and the State of Mississippi deprived all minors of care overnight. 5

                                     CONCLUSION

       The en banc court should reconsider the issuance of the stay and vacate the

Panel’s February 27, 2024 Order. In the interim, the Panel should immediately

order a grace period from the stay to mitigate the escalating harms to Indiana

families.




clause) with MO LEGIS S.B. 49, 236 & 164 (2023), 2023 Mo. Legis. Serv. S.B. 49, 236 & 164
(VERNON’S) (West’s No. 4) (over sixty days’ notice); and Mont. Code Ann. § 50-4-1004 with
MT LEGIS 306 (2023), 2023 Montana Laws Ch. 306 (S.B. 99) (over five months’ notice); and
Neb. Rev. Stat. Ann. § 71-7304 (legacy clause) with NE LEGIS 574 (2023), 2023 Nebraska
Laws L.B. 574 (over four months’ notice); N.C. Gen. Stat. Ann. § 90-21.152(b) (legacy clause);
N.C. Cent. Code Ann. § 12.1-36.1-03 (legacy clause); Ohio Rev. Code Ann. § 3129.02(B) (legacy
clause); Ohio Rev. OH LEGIS 16 (2024), 2024 Ohio Laws File 16 (Sub. H.B. 68) (ninety days’
notice); Okla. Stat. Ann. tit. 63, § 2607.1(a)(2)(b)(7) (six-month grace period); Poe v.
Drummond, No. 23-CV-177-JFH-SH, 2023 WL 6516449 (N.D. Okla. Oct. 5, 2023) (denying
preliminary injunction with one month still remaining in Oklahoma’s grace period); compare
S.D. Codified Laws § 34-24-38 (six-month grace period) with SD LEGIS 127 (2023), 2023
South Dakota Laws Ch. 127 (HB 1080) (over four months’ notice); compare Tenn. Code Ann.
§ 68-33-103(b) (eight-month grace period) with L.W. by & through Williams v. Skrmetti, 83
F.4th 460, 468 (6th Cir.) (noting Tennessee law’s enactment four months before effective date)
and L.W. by & through Williams v. Skrmetti, 73 F.4th 408, 421 (6th Cir. 2023) (noting
Tennessee law’s “continuing care exception…lessens the harm to those minors who wish to
continue receiving treatment); and Tex. Health & Safety Code Ann. § 161.703(b), (c) (grace
period) with 2023 Tex. Sess. Law Serv. Ch. 335 (S.B. 14) (almost ninety days’ notice); and
Utah Code Ann. § 58-1-603 (provision for treatment of minors under certain conditions) with
Utah Code Ann. § 58-1-603.1 (prohibiting care for minors who had not been diagnosed with
gender dysphoria prior to January 28, 2023); and W. Va. Code Ann. § 30-3-20(c), (d) (January
1, 2024 effective date with provision allowing care under certain conditions) with WV LEGIS
233 (2023), 2023 West Virginia Laws Ch. 233 (H.B. 2007) (over ninety days’ notice).

5 See Miss. Code Ann. § 41-141-5 (law effective from February 28, 2023 enactment). And even

Mississippi’s aiding and abetting provision provided that it “may not be construed to impose
liability on any speech protected by federal or state law.” Id.
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Dated: March 5, 2024                             Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

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